                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


                                                )
 ALEXIS ALBERT, et al.,                         )
                                                )
        Plaintiff,                              )          Civil Action No. 25-cv-00673-LKG
                                                )
 v.                                             )          Dated: April 14, 2025
                                                )
 AMERICAN SOCIETY OF                            )
 HEALTHSYSTEM PHARMACISTS,                      )
 INC., et al.,                                  )
                                                )
        Defendants                              )

                             AMENDED SCHEDULING ORDER
       On April 11, 2025, the parties filed a Notice of Intent to file an unopposed motion to modify
the Court’s April 1, 2025, Scheduling Order (ECF No. 28), in order to accelerate the current schedule
and promote judicial economy. ECF No. 31. The Plaintiffs assert that no Defendant opposes the
proposed motion. See id.
       In light of the foregoing, and for good cause shown, the Court MODIFIES the April 1,
2025, Scheduling Order as follows:


             Plaintiffs’ motion to appoint class counsel            April 14, 2025

             Defendants’ response                                   April 21, 2025
             in opposition




       IT IS SO ORDERED.

                                                    s/ Lydia Kay Griggsby
                                                    LYDIA KAY GRIGGSBY
                                                    United States District Judge
